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                       IN THE UNITED STATES DISTRICT COURT

                     FOR THE EASTERN DISTRICT OF LOUISIANA



IN RE: FEMA TRAILER FORMALDEHYDE           *              MDL NO. 1873
PRODUCTS LIABILITY LITIGATION              *
                                           *
                                           *              SECTION "N-5"
                                           *
                                           *              JUDGE ENGELHARDT
THIS DOCUMENT IS RELATED TO:               *              MAG. JUDGE CHASEZ
                                           *
ALL CASES                                  *
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********************************************


            RODNEY & ETTER'S MEMORANDUM IN OPPOSITION TO
             MOTION OF CO-LIAISON COUNSEL FOR PLAINTIFFS
         AND PSC MEMBERS MIKAL WATTS AND ROBERT HILLIARD TO
          APPROVE PROPOSED COMMON BENEFIT FEE ALLOCATIONS

               The Rodney & Etter, LLC law firm ("R&E"), through undersigned counsel,

opposes the allocation proposal submitted by Co-Liaison Counsel for the Plaintiffs and Plaintiffs'

Steering Committee Members Watts and Hilliard (collectively, the "PSC"). The PSC suggests

that the Court allocate only $21,686.56, or 0.35%, of the attorneys' fees fund to R&E. Yet

R&E's efforts in initiating this litigation, conducting the initial investigations, conducting

scientific and legal research, and prosecuting the case during the time period before appointment

of the PSC were crucial to the ultimate procurement of the settlement fund. The PSC offers no

explanation or analysis to support the low amount of their proposed allocation to R&E.

               R&E requests that the Court award it $360,901.25, which is the sum of the fees

compiled at a reasonable hourly rate by R&E attorneys and paralegals, plus unpaid expenses. In

a prior pleading, the PSC even admitted that R&E provided valuable service for the common

benefit of the class. "The Rodney & Etter law firm initiated the first legal action on behalf of
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those claiming formaldehyde exposure in FEMA-provided housing units after Hurricanes

Katrina and Rita. This is a matter of record and is undisputed." PSC Memorandum, Doc. 22889

at p. 1, filed 9/16/11. Yet despite acknowledging R&E's vital contribution, the PSC have

proposed that R&E receive an amount is not fair and reasonable.            The Moreland/Becnel

alternative allocation proposal is also unacceptable because it would provide R&E an

undetermined portion of a fraction of the common benefit allocation.

I.      R&E EXPENDED SIGNIFICANT TIME AND EXPERTISE FOR THE
        COMMON BENEFIT OF THE PLAINTIFF CLASS.

        A.     R&E Took the Initial Lead in Prosecuting FEMA Formaldehyde Litigation.

               In June 2006, R&E's attorneys, directed by John K. Etter, began working on the

FEMA trailer formaldehyde litigation when the formaldehyde exposure complaints first

surfaced.    Attorneys with R&E are experienced trial lawyers who have represented both

defendants and plaintiffs in state and federal civil rights litigation, toxic tort class actions,

administrative and regulatory matters, and intellectual property litigation.     Exhibit 1, Etter

Affidavit at ¶ 3. R&E has been counsel to local and state governments, corporations, and

individuals. Id. R&E has litigated civil rights, discrimination and voting rights claims on behalf

of the New Orleans community, including litigating on behalf of New Orleans residents

displaced by Hurricane Katrina. Id. at ¶ 2. Of particular relevance to this litigation, R&E

attorneys brought training and experience in scientific and engineering methods and procedures,

which were particularly relevant to the chemical exposures and toxicology issues in this

litigation. In particular, John Etter graduated from Swarthmore College with a Bachelor of

Science degree in engineering in 1979, and worked for computer and medical equipment

companies for 15 years, in the areas of manufacturing engineering, quality engineering,

reliability, regulatory affairs and product safety, and is a registered professional engineer

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(Colorado). Mr. Etter obtained a juris doctor degree from Tulane University Law School in

1997, is admitted in state and federal courts in Louisiana and Texas and is also a patent attorney.

Id. at ¶ 11. R&E's qualifications and experience were crucial to the initial investigation, strategy

and prosecution of this litigation.

               After initial complaints surfaced regarding health problems among residents in

FEMA trailers, R&E's attorneys and paralegals investigated complaints from FEMA trailer

residents, contacted environmental advocacy groups, identified Mary Devany and other experts,

searched government records, and identified trailer manufacturers and FEMA contractors. After

conducting this initial investigation, on August 4, 2006 R&E filed one of the first FEMA

formaldehyde lawsuits, the Decarlo McGuire v. Gulf Stream Coach class action lawsuit in the

Civil District Court for the Parish of Orleans. A copy of the petition may be in the record at

Case No. 06-5659, Rec. Doc. 1-1 at p. 4.         The Decarlo McGuire petition named several

manufacturers and contractors that were not sued in the Hillard v. USA petition (No. 06-2575,

E.D. La.), and, of important common benefit to the class, the filing of the petition suspended the

tolling of the Louisiana prescriptive periods as to those previously unnamed defendants.

Eventually, R&E filed thirteen lawsuits on behalf of plaintiffs seeking damages due to

formaldehyde in FEMA trailers.

               After McGuire was removed to federal court, R&E actively litigated the case until

it was consolidated into this MDL in November 2007. R&E opposed multiple motions to

dismiss under F.R.C.P. Rules 9(b), 10(b), 12(b)(3), 12(b)(6) and 12(e), which led to R&E filing

an amended complaint that became the model for the master complaint in this consolidated

litigation. See McGuire v. Gulfstream Coach, No. 06-5659 (E.D. La. 4/9/07), Doc. 131. See




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also McGuire v. Gulfstream Coach, No. 06-5659 (E.D. La. 11/29/06), Doc. 96; Id. (3/21/07),

Doc. 127 (appearances by J. Etter at hearings on Motions to Dismiss).

       B.      R&E's Filing of the Nelson Suit in the Western District Was a Necessary
               Prerequisite to Multidistrict Consolidation.

               After consultation with several of the attorneys that would later become members

of the PSC, R&E prepared and filed the Kimberly Nelson v. Gulf Stream Coach lawsuit in the

Western District of Louisiana (No. 07-921). The Nelson amended complaint was the first

complaint to seek injunctive relief from FEMA, including identification of FEMA trailer

residents and preservation of FEMA's records and database. R&E, then, filed a motion to

transfer, which was a necessary prerequisite for multi-district consolidation. R&E had filed two

of the four cases that were pending when the parties asked the Judicial Panel on Multi-District

Litigation to consolidate the FEMA trailer cases. Mr. Etter prepared for and travelled to New

York City for the MDL hearing.

       C.      R&E's Litigation Against FEMA Yielded Crucial Information for the
               Common Benefit.

               Moreover, R&E was the only law firm to seek a preliminary injunction against

FEMA, seeking formaldehyde testing, notification of trailer residents and preservation of FEMA

records and databases. See Motion for Preliminary Injunction (filed in the MDL), Doc. 8, filed

11/16/07.   In support of that motion, R&E provided this Court with government studies,

including the ATSDR Health Consultation on Formaldehyde Sampling of FEMA Temporary -

Housing Trailers, which reported on formaldehyde levels and recommended interventions to

protect trailer residents. See Doc. 8-2, filed 11/16/07. R&E's efforts resulted in the Court

ordering FEMA to appear in this litigation, which was a necessary and critical step for plaintiffs

to be able to identify and match the mobile home and trailer manufacturers and contractors to

individual trailer residents. See Order, 11/29/07 (Doc. 26) (permitting amendment to name
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FEMA and requiring FEMA to "set forth a detailed plan for testing the FEMA trailer units);

Order, Doc. 82, filed 1/17/08 (denying motion to amend complaint in Nelson "as to these specific

plaintiffs. However, any claims against FEMA, including valid / properly exhausted F.T.C.A.

claims against the government, should be included in the Master Complaint."). See also Order,

12/27/07, Doc. 74 (noting entry of protective order regarding FEMA records and databases);

Order, 3/5/08, Doc. 104 (ordering FEMA to identify unit manufacturers, models and VIN's). But

for R&E's efforts to preserve and obtain FEMA's records, matching the tens of thousands of

claimants to the trailer manufacturers would have been nearly impossible.

              R&E conferred and worked with the other plaintiffs' law firms to identify and

retain experts and develop the strategy for this litigation. The Gainsburgh Benjamin, Becnel,

Bice Palermo & Veron, and other law firms agreed in June, 2007, to R&E serving on the

Plaintiffs' Executive Committee. See Motion to Appoint Interim Plaintiff's Committee, filed in

Oldenburg v. United States, 07-2961 (E.D. La. 7/24/07), Doc. 9. See also Report of Plaintiff's

Coordinated Meeting, In re FEMA Trailer Formaldehyde, MDL 1873 (E.D. La. 11/21/07), Doc.

13 (noting attendance at meeting by Roy J. Rodney, Jr. and John K. Etter).

       D.     R&E Seeks Reimbursement Only for its Work During the Period Before
              Appointment of Liaison Counsel on March 24, 2008.

              After consolidation, the Court selected certain counsel to serve on the Plaintiffs'

Steering Committee ("PSC"), for which Mr. Etter applied but was not appointed. On March 24,

2008, the Court entered an Order on Plaintiffs' Counsel's Time and Expenses Submissions

(Doc. 115), which required PSC authorization for work common benefit work and expenses.




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R&E only seeks compensation and reimbursement for its efforts and expenses that occurred

before the Court's March 24, 2008 Order.1

               The PSC has already acknowledged that "As to common benefit expenses, all of

the expenses enumerated in Exhibit D attached to the R&E motion appear to be expenses

incurred for the benefit of all plaintiffs [ ] prior to the entry of this Court's time and expenses

submission protocol. Therefore, the PSC is prepared to recognize the submission of these

expenses." Doc. 22889 (emphasis added). The PSC has also represented to the Court that "the

PSC does not oppose the right of the Rodney & Etter firm to submit to the Court for

consideration in connection with any later settlements, the firm's claim for common benefit fees

and/or the balance of its common benefit expenses." Id. See also Consent Order, Doc. 23563,

11/17/11 (reserving the right of Rodney & Etter "to request the payment of a common benefit fee

in connection with other settlements which might be entered in this litigation").

               R&E submitted its detailed time and expense records to Bourgeois Bennett and to

the PSC, pursuant to this Court's orders (Copy attached, Exhibit 2). R&E also submitted a three-

page narrative to the PSC, explaining and substantiating R&E's efforts in this litigation. (Copy

attached, Exhibit 3). R&E also submits the attached Affidavit of Mr. Etter, attesting to the

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       Even though it seeks no reimbursement for the time period after March 24, 2008,
       Mr. Etter and R&E's associates and paralegals continued to support the plaintiffs'
       committee efforts, monitored the scientific developments and the litigation, attended
       status conferences, filed additional cases and submitted claim forms for individual
       claimants.

       On August 31, 2009, R&E transferred thirteen (13) individual lawsuits, including the
       McGuire and Nelson cases to Justin Woods of the Gainsburgh, Benjamin law firm, and
       withdraw from those cases. The Gainsburgh, Benjamin and R&E law firms discussed
       confecting a referral counsel agreement to memorialize their understanding to share
       contingency attorneys' fees and expenses for those individual cases, similar to
       Gainsburgh, Benjamin's agreements with other counsel, but did not execute such an
       agreement. R&E anticipates signing such a referral agreement with Gainsburgh,
       Benjamin for those 13 individual cases shortly.

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accuracy of R&E's time and expense reports and efforts (Exhibit 1). R&E's partners devoted

593.65 hours to the FEMA trailer formaldehyde litigation between June 1, 2006 and March 23,

2008, as reported to Bourgeois Bennett. R&E's associate attorneys provided 720.35 hours of

common benefit work. R&E's paralegals spent 394.50 hours on this litigation. At a partner rate

of $300 per hour, an associate rate of $200 per hour and a paralegal rate of $75 per hour, R&E

would be entitled to $351,752.50 in attorney fees. Those rates are consistent with recent Eastern

District awards. See Hornbeck Offshore Services, LLC v. Salazar, No. 10-1663, 2001 WL

2214765 (E.D. La. 6/1/11); ($295-420 for partners and $180-195 for associates); In re OCA, Inc.

Secs. & Derivative Litig., No. 05-2165, 2009 WL 512081 at *25 (E.D. La. 3/2/09); (partners

$400-450, associates $200–250, paralegals $100). R&E also paid $10,563.15 for formaldehyde

testing, attendance at the Joint Panel on Multi-District Litigation hearing, attending the

Congressional Sub-Committee hearing on the FEMA trailers, filing fees, experts and other

expenses in this litigation, between June 1, 2006 and March 23, 2008, of which $1,414.40 has

been paid from the manufactured home settlement funds.

II.      LAW AND ARGUMENT

         A.    Under Established Fifth Circuit Law, the Court Must Closely Scrutinize the
               PSC's Proposed Fee Allocation.

               Federal courts have long held that "a lawyer who recovers a common fund for the

benefit of persons other than himself or his client is entitled to a reasonable attorney's fee from

the fund as whole." Boeing v. Van Gemert, 444 U.S. 472, 478 (1980). Louisiana state courts

similarly recognize that an attorney is entitled to compensation "where an attorney alone and at

his own expense has successfully maintained an action for the preservation, protection, increase

or creation of a fund in which persons other than his own clients may share or from which they

may benefit." Avants v. Kennedy, 2002-0830 (La. App. 1 Cir. 12/20/2002), 837 So. 2d 647, 656;

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Kirkpatrick v. Young, 456 So. 2d 622, 625 (La. 1984). R&E's efforts and expenditures in

investigating, preparing, filing, and litigating cases were necessary for this consolidated action

and benefitted all of the FEMA trailer claimants.

               Fifth Circuit jurisprudence mandates that when reviewing proposed allocations

from a common benefit fund, district courts "must not cursorily approve the attorneys' fee

provision of a class settlement or delegate that duty to the parties. Although exacting judicial

review of fee applications may be burdensome, it is necessary to discharge the court's duty to

award fees that are reasonable and consistent with governing law." In re High Sulfur Content

Gasoline Products Liab. Litig., 517 F.3d 220, 228 (5th Cir. 2008) (omitting internal citations).

The Court should "compare the contributions of all of the plaintiffs' attorneys in order to

determine if the fee allocation [is] equitable. After all, 'allocation means proportion; how does

the share one counsel is taking compare to the shares others are getting?'" Id. at 232 (quoting In

re Vitamins Antitrust Litig., 398 F. Supp. 2d 209, 234 (D.D.C. 2005)).

               Indeed, the Fifth Circuit has expressly held that when the attorneys proposing an

allocation of an award are themselves to be awarded a portion of the award, affording deference

to the proposed allocation is inappropriate. In re High Sulfur Content Gasoline Prods. Liab.

Litig, 517 F.3d at 234-35. The appeals court stated:

       It is likely that lead counsel may be in a better position than the court to evaluate
       the contributions of all counsel seeking recovery of fees. But our precedents do
       not permit counsel simply to defer to a fee allocation proposed by a select
       committee of attorneys, in no small part, because "counsel have inherent
       conflicts. . . . They make recommendations on their own fees and thus have a
       financial interest in the outcome. How much deference is due the fox who
       recommends how to divvy up the chickens?"

Id. at 234-35 (quoting In re Diet Drugs Products Liab. Litig., 401 F.3d 143, 173 (3d Cir. 2005));

see also Victor v. Argent Class Convertible Arbitrage Fund LP, 623 F.3d 82, 89 (2d Cir. 2010)

("We recognize that lead counsel has an incentive to undercompensate non-lead counsel, as such
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compensation typically decreases lead counsel's own recovery.").

       B.      The PSC Offers No Analysis to Support the Minimal Proposed Allocation to
               R&E.

               The PSC's supporting memorandum is devoid of any analysis to explain the

criteria for the different tiers of counsel or to justify the percentages that were awarded to each

proposed tier. The PSC merely states that its tier proposal is not disputed. (PSC Mem. at p. 6.)

Even with regard to the lowest tier to which R&E was relegated, the PSC offers no explanation

for how it decided upon differences in allocation among this cohort. The PSC states, "where

total hours did not render an equivalent value, they were discounted, and where the hours were

devoted to assignments having a significant impact on outcome, they were given more weight."

Yet the PSC offers no explanation as to what factors they looked to make these determinations or

how they determined which contributors had a "significant impact." The Court should not accept

the PSC's invitation to simply rubber stamp its opaque fee allocation proposal, since doing so

would likely lead to a reversal in accordance with High Sulfur.

       C.      The Court Should Consider R&E's Pre-Consolidation Contributions for the
               Common Benefit.

               The PSC's allocation ignores R&E's significant pre-consolidation work. It is

well-established that "work completed by non-lead counsel prior to the appointment of lead

plaintiff can confer substantial benefits on the class. For instance, potential lead counsel may

conduct significant factual investigations, perform legal research on novel or innovative theories,

and make strategic legal decisions affecting the content of complaints and the ultimate course of

the litigation. In such instances, when substantial benefit has been conferred on the class, non-

lead counsel are entitled to reasonable compensation." Victor v. Argent Class Convertible

Arbitrage Fund LP, 623 F.3d 82, 87 (2d Cir. 2010). See also In re Cendant Corp. Sec. Litig.,

404 F.3d 173, 194, 197 (3d Cir. 2005); Gottlieb v. Barry, 43 F.3d 474, 489 (10th Cir. 1994)
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(noting that "it seems implausible that all of sixteen months of work, pursued on multiple fronts

by multiple counsel, suddenly becomes worthless upon the selection of a few counsel to serve as

class counsel"). Here, R&E's filing of the McGuire and Nelson complaints, its request for a

preliminary injunction against FEMA, and its foundational work all conferred substantial

benefits to the class.

                This Court has also recognized that the attorneys who file the first lawsuits are

entitled to common benefit fees and reimbursement, even if they do not handle a large number of

claimants, because a "critical mass" of cases is required for consolidation into a single

proceeding and for the litigation to have sufficient momentum to result in substantial settlements.

See Turner v. Murphy Oil USA, Inc., 582 F. Supp. 2d 797, 809 (E.D. La. 2008).

                While performing the substantial initial work in this litigation before the PSC was

appointed, R&E had no guarantee that it would be appointed to the plaintiffs' committee or

would be selected as liaison counsel. "To allow compensation of work done during this period to

depend solely on the whim of the [PSC] could well lead to unfair and arbitrary fee decisions." In

re Cendant Corp. Secs. Litig., 404 F.3d 173, 194–95 (3d Cir. 2005). While the Court may give

some deference to reasons for an allocation provided by lead counsel, "[t]he court, not the lead

plaintiff, must decide for itself what firms deserve compensation for work done on behalf of the

class prior to the appointment of the lead plaintiff." Id. at 195; see also In re OCA, Inc. Sec. and

Derivative Litig., No. 05-2165, 2009 WL 512081 at *24 (E.D. La. 3/2/09) (quoting Cendant).

                Law firms that were not part of the PSC may and should receive compensation for

work and expenditures that created a common benefit. In In re Vioxx, 802 F. Supp. 2d 740,

786-87 (E.D. La. 2011), Judge Fallon awarded common benefit fees to the Bruno & Bruno law

firm, even though none of its attorneys served on the PSC. Several attorneys were awarded


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common benefit fees in the Murphy Oil class action who were not committee members. See

Turner v. Murphy Oil USA, Inc., 582 F. Supp. 2d at 822-827.

               R&E's position in this case is somewhat similar to the position of Lance Licciardi

in the Murphy Oil litigation. In that case, Mr. Liccardi was not assigned to participate in any

committees of the Murphy Oil PSC, but he was asked to contribute his clients to the critical mass

of plaintiffs, thereby relinquishing his right to collect fees that those clients would have

generated. Mr. Licciardi was awarded $260,000 from the common fund despite the fact that he

did little common benefit work. Like Mr. Licciardi, R&E was asked by the PSC to contribute

their clients to the critical mass that was required to create this consolidated MDL action, and

later transferred its cases to Plaintiffs' Liaison Counsel.       See Turner v. Murphy Oil,

582 F. Supp. 2d at 822. But unlike Mr. Licciardi, R&E contributed vital pre-consolidation work

that facilitated the development of the litigation and ultimately resulted in the fund. The PSC

should follow Judge Fallon's example in that case, and allocate common benefit attorneys' fees

and expense reimbursement to R&E.

III.   CONCLUSION

               In conclusion, Rodney & Etter is entitled to common benefit fees because R&E

was one of the first law firms to recognize and investigate the formaldehyde exposure complaints

after Hurricane Katrina and its efforts conferred substantial benefits to the class. The proposed

fee allocation submitted by the PSC is not reasonable.          R&E hired experts to perform

formaldehyde testing, researched, prepared and filed thirteen lawsuits on behalf of people who

were exposed to formaldehyde.      Two of R&E's cases, McGuire and Nelson supported the

consolidation of these cases into the present MDL litigation. Accordingly, R&E requests that

that this Court award the Rodney & Etter, LLC law firm reasonable attorneys' fees for its work

that benefitted all litigants in these consolidated matters and order that the Rodney & Etter, LLC
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law firm be reimbursed for the expenses it incurred in the investigation, filing and prosecution of

the initial lawsuits that led to the settlements.

                                                Respectfully submitted,


                                                /s/ J. Dalton Courson
                                                Phillip A. Wittmann, 13625, T.A.
                                                J. Dalton Courson, 28542
                                                Stone Pigman Walther Wittmann L.L.C.
                                                546 Carondelet Street
                                                New Orleans, Louisiana 70130
                                                (504) 581-3200

                                                Attorneys for Rodney & Etter


                                  CERTIFICATE OF SERVICE

                I hereby certify that, on November 6, 2012, a copy of the foregoing Rodney &

Etter's Memorandum in Opposition to Motion of Co-Liaison Counsel for Plaintiffs and PSC

Members Mikal Watts and Robert Hilliard to Approve Proposed Common Benefit Fee

Allocations was filed electronically with the Clerk of Court using the CM/ECF system. Notice

of this filing will be sent to all counsel of record by operation of the Court's electronic filing

system.

                                                /s/ J. Dalton Courson
                                                J. Dalton Courson




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